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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN GIDDIENS,                                  :                 CIVIL ACTION
ON BEHALF OF HIMSELF AND                        :
ALL OTHERS SIMILARLY SITUATED,                  :
                                                :
         v.                                     :
                                                :
LEXISNEXIS RISK SOLUTIONS, INC.                 :                 NO. 12-cv-2624

           FINAL JUDGEMENT CERTIFYING SETTLEMENT CLASS,
  APPROVING CLASS SETTLEMENT, AND DISMISSING ACTION WITH PREJUDICE

       Upon review and consideration of the terms and conditions of the Settlement Agreement

filed with this Court on July 9, 2014 (Doc. No. 38), between and among the Class Representative

and the Settlement Class, by and through the Class Representative and Class Counsel, and the

Defendant First Advantage LNS Screening Solutions, Inc., f/k/a LexisNexis Screening Solutions,

Inc. (“Defendant”), by and through its authorized signatory;

       Due and adequate notice having been given to members of the Settlement Class, as

required in the Preliminary Approval Order, and following such notice, a hearing having been

held before this Court on December 3, 2014 (the “Fairness Hearing”) (see Doc. No. 51) to

determine the matters contemplated herein;

       Upon consideration of all prior proceedings in the Action; and

       Upon consideration of Plaintiff’s Motion for Final Approval of Class Action Settlement

Agreement, and all memoranda, affidavits, and other papers and arguments submitted with

respect thereto,

       The Court finds that:
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         1. The Settlement Class is defined as follows:
            All persons residing in the United States of America (including its territories
            and Puerto Rico) (a) who were the subject of a LexisNexis employment
            background screening report that was furnished for an employment purpose
            within two years preceding the filing of this Action and during its pendency
            (b) that contained at least one record of criminal histor y that had been
            expunged or sealed prior to the date of the employment background
            screening report, as a result of data from the LifeCycle File developed by
            the Administrative Office of Pennsylvania Courts not being taken into account
            in connection with the preparation of the employment background screening
            report so provided.

         2.       The Settlement Class contains approximately 288 members, and is sufficiently

numerous that joinder of all members would be impracticable.

         3.       There are issues of law and fact common to the Settlement Class.

         4.       The claims of the Class Representative are typical of those of the Settlement

Class.

         5.       Plaintiff and Class Counsel have adequately represented the Class. The Class

Representative has no conflicts with members of the Settlement Class and has participated in this

action through production of documents and appearance at deposition.

         6.       The Settlement Class meets the requirements of Fed. R. Civ. P. 23(a).

         7.       Common questions of law and fact predominate with respect to the members of

the Settlement Class.

         8.       A class action is a superior method for resolving the claims of the Class. This is

the proper forum for the maintenance of this class action. Due to the settlement, there will be no

issues of manageability.

         9.       The Settlement Class meets the requirements of Fed. R. Civ. P. 23(b)(3).

         10.      The settlement is entitled to a presumption of fairness because: (a) the

negotiations were conducted at arm’s length; (b) there was substantial discovery, including
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review of records and documents from Defendant, and extensive depositions of Defendant

personnel; and (c) Class Counsel are experienced in this type of litigation.

       11.     The proposed settlement is fair, reasonable and adequate.

       12.     Notice of the pendency of this Action as a class action, of the proposed

Settlement, and of the request for certification of the Settlement Class was given to all persons

reasonably identifiable as Class Members, as shown by the records of Defendant, at the

respective addresses set forth in Defendant’s records, as updated as provided for in the

Settlement Agreement. The Court finds that the form, content, and method of dissemination of

the notice given to the Class Members were adequate and reasonable, and constituted the best

notice practicable under the circumstances. The notice, as given, provided valid, due, and

sufficient notice of these proceedings, of the proposed Settlement, and of the terms and

conditions set forth in the Settlement Agreement, and the notice fully satisfied the requirements

of Rule 23 of the Federal Rules of Civil Procedure, Constitutional due process, and all other

applicable laws.

       13.     The Defendant has timely filed notifications of this settlement with the

appropriate officials pursuant to the Class Action Fairness Act of 2005 (“CAFA”), Pub. L. No.

109-2, 119 Stat. 4, 7-8 (2005), effective February 18, 2005, codified at 28 U.S.C. §§ 1711-

1715. These notifications apprised the appropriate officials that, in connection with the approval

of this settlement, Defendant would seek certification from this Court that their respective

notifications complied with any applicable CAFA requirements. The Court has reviewed such

notifications and accompanying materials and finds that Defendant’s notifications comply fully

with any applicable requirements of CAFA.
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       IT IS THEREFORE ORDERED AND DECREED THAT A FINAL JUDGMENT

BE ENTERED AS FOLLOWS:

       A.       This Court has jurisdiction over the subject matter of this Action and over all

Parties to this Action, including, without limitation, the members of the Settlement Class.

       B.       The above-defined Settlement Class meets all of the requirements of Rule 23(a)

and (b)(3) of the Federal Rules of Civil Procedure, and is finally certified. The Court hereby

approves the Settlement Agreement and the payments and processes thereto as fair and adequate,

and the Settlement Administrator is directed to administer the Settlement Agreement in

accordance with its terms and conditions.

       C.       James A. Francis, David A. Searles, John Soumilas, and Lauren KW Brennan of

Francis & Mailman, P.C., and Sharon M. Dietrich and Brendan Patrick Lynch of Community

Legal Services, Inc., are appointed as Class Counsel.

       D.       The Class Settlement in this action is approved as being a fair, reasonable, and

adequate settlement as to all members of the Settlement Class within the meaning of Rule 23 of

the Federal Rules of Civil Procedure and shall be consummated in accordance with its terms.

Objections timely filed with the Court are overruled and denied.

       E.       Subject only to the provisions of Paragraph J below, the Action is hereby

dismissed with prejudice, without costs, except as expressly provided in the Settlement

Agreement.

       F.       Subject only to the provisions of Paragraph J below, by operation of this

judgment, all Settlement Class Members who have not timely and properly opted out are deemed

to have absolutely and unconditionally released and forever discharged the Released Parties from

all claims, as set forth in the Settlement Agreement, and are forever barred and enjoined from
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commencing, instituting, or maintaining any such claims against the Released Parties in any

action in this or any other forum. Nothing contained in the Settlement Agreement releases or

affects in any way the individual claims or the claims asserted on behalf of the class against

Infinity Staffing Solutions and Lyneer Staffing Solutions in the case of Giddiens v. Infinity Staffing

Solutions, C.A. No. 13-7115 (E.D. Pa.). All Settlement Class Members who have not timely and

properly opted out are further deemed to have waived the protections afforded under Section

1542 of the California Civil Code and/or any other similar, comparable, or equivalent laws.

       G.       This Final Judgment shall not and does not apply to bind those individuals who

have timely excluded themselves from the Settlement Class. The Settlement Administrator shall

file with the Clerk of the Court a record of class members who timely excluded themselves from

the Settlement Class and shall, upon the request of either Party, confirm whether any given

individual is on the list of exclusions. In all other respects, the list of opt-outs shall be treated

with the same confidentiality as the Class List.

       H.       Upon consideration of Class Counsel’s application for fees and expenses, the

Court shall enter a separate Order awarding reasonable fees and expenses in an amount to be set

forth in that Order.

       I.       Upon consideration of the application for an individual settlement and service

award, the Class Representative, John Giddiens is awarded the sum of ten thousand dollars

($10,000.00) in consideration of his individual claims against the Defendant and for the valuable

service he has performed for and on behalf of the Settlement Class.

       J.       The Court shall retain exclusive jurisdiction to resolve any disputes or challenges

that may arise as to the performance or administration of the Settlement Agreement, or any
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challenges to the performance, validity, interpretation, administration, enforcement, or

enforceability of the notice, this Final Judgment, or the Settlement Agreement.

       K.       In the event that the Settlement Agreement is terminated in accordance with its

terms or with the terms of any other agreement between the Parties, or this Final Judgment is

reversed on appeal or otherwise does not become Final, (i) this Final Judgment shall be rendered

null and void and shall be vacated nunc pro tunc; (ii) as specified in the Settlement Agreement,

the Settlement Agreement and other related orders shall be rendered null and void and shall be

vacated nunc pro tunc; and, (iii) the Action shall proceed as provided in the Settlement

Agreement.

       L.       Neither the Settlement Agreement, the settlement contained therein, the

negotiation nor any proceeding or document executed pursuant to or in furtherance thereof, (i) is

or shall be construed as an admission of, or evidence of, the truth of any allegation or of any

liability or the validity (or lack thereof) of any claim or defense on the part of any party in any

respect; or (ii) is or shall be admissible in any action or proceeding for any reason, other than an

action or proceeding to enforce the terms of the Settlement Agreement or of this Final Judgment.

In addition, neither certification of the Settlement Class for settlement purposes only, nor any

other act relating to the negotiation, execution, or implementation of the Settlement Agreement,

shall be considered as a factor in connection with any class certification issue(s) if the Settlement

Agreement terminates or the Effective Date does not occur.

                                                              BY THE COURT:

                                                              /s/ Legrome D. Davis

                                                              Legrome D. Davis, J.

Date: January 20, 2015
